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5

6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,        )       No. CR-F-06-098 OWW
                                      )
10                                    )       ORDER DENYING DEFENDANT'S
                                      )       MOTION FOR RETURN OF
11                      Plaintiff,    )       PROPERTY (Doc. 43)
                                      )
12                vs.                 )
                                      )
13                                    )
     ATIFFA GUADALUPE DUNBAR,         )
14                                    )
                                      )
15                      Defendant.    )
                                      )
16                                    )

17        Defendant Atiffa Guadalupe Dunbar moves pursuant to Rule

18   41(g), Federal Rules of Criminal Procedure, for an order that the

19   United States return to Defendant $10,391.51 seized from

20   Defendant’s bank account on February 10, 2006.1

21
          1
              Rule 41(g), Federal Rules of Criminal Procedure, provides:
22
                  A person aggrieved by an unlawful search and
23                seizure of property or by the deprivation of
                  property may move for the property’s return
24                ... The court must receive evidence on any
                  factual issue necessary to decide the motion.
25                If it grants the motion, the court must return
                  the property to the movant, but may impose
26                reasonable conditions to protect access to the

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1         Defendant was charged with one count of wire fraud and

2    aiding and abetting in violation of 18 U.S.C. § 1343, two counts

3    of filing a false claim to an agency of the United States in

4    violation of 18 U.S.C. § 287, and two counts of mail fraud in

5    violation of 18 U.S.C. § 1341.     Defendant pleaded guilty to wire

6    fraud and aiding and abetting.     Defendant was sentenced on March

7    26, 2007 to probation for a term of 36 months and restitution in

8    the amount of $605.00.

9         A Seizure Warrant was issued by the United States District

10   Court on February 10, 2006 pursuant to the affidavit of FBI

11   Special Agent Claiborne.    The Seizure Warrant authorized the

12   seizure of:

13             All funds derived from a scheme to defraud
               the United States Government, Federal
14             Emergency Management Agency on deposit at
               Kern Schools Federal Credit Union in
15             Bakersfield, California, held in account #
               6744460-0, in an amount not to exceed
16             $10,381.51.

17             Which is subject to forfeiture pursuant to 18
               U.S.C. §§ 981(a)(1)(C) (incorporating 18
18             U.S.C. § 1956(c)(7) and 984 and subject to
               seizure pursuant to 18 U.S.C. § 981(b). [sic]
19
          Wanda P. Mackall, a Paralegal Specialist, Forfeiture and
20
     Seized Property Unit (FSPU), Finance Division of the FBI, avers
21
     in pertinent part:
22
               2. In my capacity as a Paralegal Specialist,
23             I am familiar with and have care, custody
               and/or control of the FBI records relating to
24             the seizure and administrative forfeiture of

25
               property and its use in later proceedings.
26

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1              the following property, identified by FBI
               seizure number:
2
                    a. FBI Seizure Number 3720-06-F-
3              0027; $10,391.51 in funds from the Kern
               Schools Federal Credit Union Account #
4              6744460-0, Bakersfield, California, in the
               name of Attifa Guadalupe Dunbar, seized on
5              February 10, 2006.

6              3. With regard to the above-referenced
               property, the records of the FBI reflect that
7              letters giving notice of the seizure together
               with information on the applicable procedures
8              were sent to parties who appeared to have an
               interest in the seized property by U.S.
9              certified mail, return receipt requested,
               pursuant to 18 U.S.C. § 1607 and 18 U.S.C. §
10             983 to the following individuals and were
               received or returned as indicated:
11
                    a. Personal notice of the seizure
12             and intent to forfeit, dated February 22,
               2006, and postmarked on February 22, 2006 was
13             sent to the following parties: (1) Attifa
               Guadalupe Dunbar at 800 Quailridge Road, Apt.
14             D, Bakersfield, California 93309 [Ms.
               Dunbar’s home address]. The return receipt
15             indicated that notice was received by Dunbar
               on February 25, 2006 ....
16
     Attached as Exhibit A to Ms. Mackall’s Declaration is a copy of
17
     the notice of the seizure sent to Defendant as well as a copy of
18
     the return receipt signed by Defendant on February 25, 2006.       The
19
     notice advises of the seizure of $10,391.51 from Defendant’s
20
     account and that Defendant “may contest the seizure and
21
     forfeiture of the property ....”       The notice states in pertinent
22
     part:
23
                          To Contest the Forfeiture
24
               If you want to contest the seizure or
25             forfeiture of the property in court, you must
               file a claim of ownership with the FBI by
26             March 29, 2006. The claim is filed when it

                                        3
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1              is received by the FBI Forfeiture Paralegal
               Specialist of the FBI Field Division
2              mentioned below except in cases of pro se
               incarcerated individuals as otherwise
3              provided by law. The claim need not be made
               in any particular form. The claim shall
4              identify the specific property being claimed
               and state the claimant’s interest in such
5              property. Documentary evidence supporting
               claimant’s interest in the property may help
6              substantiate the claim, but is not required.
               The claim must be made under oath, subject to
7              penalty of perjury. A frivolous claim may
               subject the claimant to a civil fine equal to
8              ten (10) percent of the value of the
               forfeited property but in no event shall the
9              fine be less that $250 or greater than
               $5,000.
10
               If you wish to contest the forfeiture of the
11             asset, you must comply with the procedures
               set forth herein. Failure to do so will
12             waive your right to contest the forfeiture of
               the asset in this proceeding and any judicial
13             proceeding - either civil or criminal - even
               if such a proceeding has already been
14             commenced or is commenced in the future.

15             ...

16                        Where to Submit
                          Correspondence
17
               The Seizure Number 3720060027 has been
18             assigned to this forfeiture action. Use
               these numbers to identify the property when
19             submitting the claim ... or other
               correspondence to the FBI.
20
               Submit all documents to this FBI Field
21             Division:

22                   SPECIAL AGENT IN CHARGE
                     FEDERAL BUREAU OF INVESTIGATION
23                   4500 ORANGE GROVE AVENUE
                     SACRAMENTO, CA 95841
24
                     ATTENTION: FORFEITURE PARALEGAL
25                   SPECIALIST 916-481-9110

26   Ms. Mackall also avers that personal notice of the seizure and

                                        4
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1    procedures to make a claim were sent to the Kern Schools Federal

2    Credit Union and FEMA, and that, on March 10, 17 and 24, 2006,

3    public notices of the seizure and intended forfeiture of the

4    property was published in the Wall Street Journal.        Ms. Mackall

5    avers:

6              6. The records of the FBI reflect that no
               claims were filed with regard to the above-
7              referenced property prior to the deadline
               identified in the notice.
8
               7. The records of the FBI reflect that a
9              petition for remission or mitigation of
               forfeiture was received with regard to the
10             above-referenced property on July 7, 2006.
               Jeannie Goforth filed the petition on behalf
11             of the Department of Homeland Security,
               Federal Emergency Management Agency. The
12             Petitioner [Ms. Goforth] was advised of the
               granting of the petition by letter dated
13             November 1, 2006 ....

14   Ms. Mackall avers:

15             8. The records of the FBI also reflect that
               a ‘Civil Forfeiture Review Form’ and
16             forfeiture file was reviewed by an attorney
               assigned to the FBI’s Legal Forfeiture Unit
17             (LPU), Office of the General Counsel. The
               purpose of this review was to determine
18             whether the FBI had adequate information to
               support the administrative forfeiture of the
19             property. This review consisted of a legal
               review of the facts and circumstances
20             supporting the forfeiture of the property to
               determine the existence of probable cause,
21             whether the notice provided to interested
               parties was legally sufficient under the law,
22             and whether there were any legal impediments
               to the forfeiture action. After conducting
23             this review and finding legal sufficiency and
               no legal impediments, LPU recommended that
24             the property be declared forfeited to the
               United States.
25
               10. On October 18, 2006, the property was
26             declared administratively forfeited to the

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1               United States pursuant to 18 U.S.C. § 981.
                ....
2
     The Declaration of Administrative Forfeiture is attached to Ms.
3
     Mackall’s declaration as Exhibit D.
4
          Defendant does not contest any of the averments in Ms.
5
     Mackall’s declaration or challenge the validity of the notices
6
     and other documents attached as exhibits to Ms. Mackall’s
7
     declaration.    No claim was filed by March 29, 2006, despite clear
8
     and specific notice to Defendant that she was required to do so.
9
          This uncontested record establishes the absence of
10
     jurisdiction in this court to entertain Defendant’s motion for
11
     return of property pursuant to Rule 41(g).
12
          In April 2000, Congress enacted the Civil Asset Forfeiture
13
     Reform Act of 2000 (CAFRA), Pub.L. No. 106185, 114 Stat. 202,
14
     codified in part at 18 U.S.C. § 983, which overhauled procedures
15
     for most federal civil and nonjudicial forfeiture actions
16
     initiated after August 23, 2000, including those brought against
17
     property subject to forfeiture under 18 U.S.C. § 981.         See Mesa
18
     Valderrama v. United States, 417 F.3d 1189, 1195 (11th Cir.2005).
19
     A party seeking to challenge a nonjudicial forfeiture that falls
20
     within CAFRA’s purview is limited to doing so under 18 U.S.C. §
21
     983(e).   Id.   Section 983(e) provides in pertinent part:
22
                (1) Any person entitled to written notice in
23              any nonjudicial civil forfeiture proceeding
                under a civil forfeiture statute who does not
24              receive such notice may file a motion to set
                aside a declaration of forfeiture with
25              respect to that person’s interest in the
                property, which motion shall be granted if -
26

                                        6
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1                       (A) the Government knew, or
                        reasonably should have known, of
2                       the moving party’s interest and
                        failed to take reasonable steps to
3                       provide such party with notice; and

4
                        (B) the moving party did not know
5                       or have reason to know of the
                        seizure within sufficient time to
6                       file a timely claim.

7
                  ...
8
                  (5) A motion filed under this subsection
9                 shall be the exclusive remedy for seeking to
                  set aside a declaration of forfeiture under a
10                civil forfeiture statute.

11   See also United States v. Sims, 376 F.3d 709, 708 (7th Cir.2004),

12   cert. denied, 543 U.S. 1094 (2005):

13                The proper office of a Rule 41(g), motion is,
                  before any forfeiture proceedings have been
14                initiated, or before any criminal charges
                  have been filed, to seek the return of
15                property seized without probable cause, or
                  property held an unreasonable length of time
16                without the institution of proceedings that
                  would justify the seizure and retention of
17                the property. The rule can also be invoked
                  after criminal proceedings have concluded to
18                recover the defendant’s property when the
                  property is no longer needed as evidence -
19                unless, of course, it has been forfeited in
                  the course of those proceedings.
20
          Defendant makes no contention that the notice provisions set
21
     forth in Section 983 were not followed and does not challenge the
22
     evidence demonstrating that she received actual notice of the
23
     forfeiture and of her remedy.     Why Defendant did not pursue the
24
     claim procedures set forth in that notice is not explained in her
25
     pleadings.    The record establishes that Defendant received all
26

                                         7
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1    the required notice in sufficient time to challenge the

2    forfeiture proceedings.     As held in Mesa Valderrama, supra, 417

3    F.3d at 1197:

4                 “‘It is inappropriate for a court to exercise
                  equitable jurisdiction to review the merits
5                 of a forfeiture matter when the petitioner
                  elected to forego the procedures for pursuing
6                 an adequate remedy at law.’ ....”

7    See also United States v. Elias, 921 F.2d 870, 874-875 (9th

8    Cir.1990):

9                 ... Failure to comply with a remedy at law
                  does not make it inadequate so as to require
10                the district court to exercise its equitable
                  jurisdiction.
11
                  In a case involving strikingly similar facts,
12                the Eighth Circuit upheld the dismissal of a
                  Rule 41(e) [now Rule 41(g)] motion in In re
13                Harper, 835 F.2d 1273 (8th Cir.1988). In
                  Harper, the claimant filed a Rule 41(e)
14                motion for the return of money seized at the
                  airport by security officers at a checkpoint
15                scanner ... Thereafter, ‘the government
                  instituted forfeiture proceedings by mailing
16                and publishing a notice of intention to
                  forfeit Harper’s money’ pursuant to 19 U.S.C.
17                § 1607(a) and 21 U.S.C. § 881(d) ... The
                  government filed a motion to dismiss the Rule
18                41(e) motion, ‘because Harper’s motion
                  resorted to the Federal Rules of Civil
19                Procedure to attack a completed civil
                  forfeiture.’ ... The district court dismissed
20                the Rule 41(e) motion ....

21                The Eighth Circuit affirmed the dismissal
                  holding that ‘the district court did not
22                abuse its discretion when it refused to
                  invoke its equitable powers in the
23                circumstances of this case.’ ... The court
                  reasoned as follows:
24
                       Although Harper had knowledge of
25                     the pending forfeiture proceeding,
                       he allowed the matter to finalize
26                     without challenging the forfeiture

                                        8
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1                      or seeking a stay of the
                       proceedings. Harper now claims he
2                      may attack that civil forfeiture by
                       utilizing rule 41(e). We disagree.
3                      Harper cannot pursue an equitable
                       remedy in the district court when
4                      he did not challenge in any way the
                       very proceeding that forfeited his
5                      property in the first place. To do
                       so would be the equivalent of
6                      impermissibly using the Federal
                       Rules of Criminal Procedure to
7                      attack a civil forfeiture ....

8                We are persuaded by the fine analysis of this
                 issue in Harper ....
9
                 The district court did not err in declining
10               to exercise its equitable jurisdiction in
                 this matter because Elias had an adequate
11               remedy at law to attack the legality of the
                 administrative forfeiture proceedings.
12
     Although Elias was decided before the enactment of the CAFRA, its
13
     analysis and conclusion support denial of Defendant’s motion for
14
     return of property.
15
                                 CONCLUSION
16
           For the reasons stated above, Defendant’s motion for return
17
     of property pursuant to Rule 41(g), Federal Rules of Criminal
18
     Procedure, is DENIED.
19
           IT IS SO ORDERED.
20
     Dated:   May 29, 2007                 /s/ Oliver W. Wanger
21   668554                           UNITED STATES DISTRICT JUDGE

22

23

24

25

26

                                         9
